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                                      1 Meng Zhong
                                        Nevada Bar No. 12145
                                      2 Brian D. Blakley
                                        Nevada Bar No. 13074
                                      3 LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                        3993 Howard Hughes Pkwy, Suite 600
                                      4 Las Vegas, NV 89169-5996
                                        Tel: 702.949.8200
                                      5 E-mail: mzhong@LRRC.com
                                        E-mail: bblakley@LRRC.com
                                      6
                                        Jeffrey A. Feasby (pro hac vice)
                                      7 PEREZ VAUGHN & FEASBY, INC.
                                        600 B Street, Suite 2100
                                      8 San Diego, CA 92101
                                        Tel: 619.741.0242
                                      9 Fax: 619.460.0437
                                        E-mail: feasby@pvflaw.com
                                     10
                                         Attorneys for Plaintiff
                                     11 JoshCo Tech, LLC
3993 Howard Hughes Pkwy, Suite 600




                                     12                              UNITED STATES DISTRICT COURT
                                                                          DISTRICT OF NEVADA
                                     13
Las Vegas, NV 89169-5996




                                     14 JOSHCO TECH, LLC, a Nevada limited                   Case No.: 2:20-cv-00450-APG-EJY
                                        liability company,
                                     15
                                                 Plaintiff,                                  STIPULATION AND [PROPOSED]
                                     16                                                      ORDER FOR EXTENSION OF TIME
                                        v.                                                   TO FILE OPPOSITION TO
                                     17                                                      DEFENDANTS’ MOTION TO STAY
                                        MAX VA BENEFITS CONSULTING                           DISCOVERY PENDING
                                     18 SERVICES, INC. a California corporation;             RESOLUTION OF ITS MOTION TO
                                        JOSE BRICENO, an individual,                         DISMISS PLAINTIFF’S COMPLAINT
                                     19
                                                 Defendant.                                  (First Request)
                                     20

                                     21          Pursuant to Rule 6 of the Federal Rules of Civil Procedure and District of Nevada Local

                                     22 Rule 6-1, Plaintiff JoshCo Tech, LLC (“JoshCo Tech”) and Defendants Max VA Benefits

                                     23 Consulting Services, Inc. (“MaxVA”) and Jose Briceno’s (“Briceno”) (collectively, “Defendants”)

                                     24 state the following:

                                     25          1.     On July 1, 2020 Defendants filed Defendants’ Motion to Stay Discovery Pending

                                     26 Resolution of Its Motion to Dismiss Plaintiff’s Complaint (“Motion to Stay”) (ECF No. 22);

                                     27          2.     Pursuant to Rules 6(a) and (d) of the Federal Rules of Civil Procedure and pursuant

                                     28 to Local Rule 7-2, JoshCo Tech has until July 15, 2020 to file and serve their opposition to the

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                                      1 Motion to Stay; and

                                      2          3.     On or about July 13, the parties’ counsel conferred regarding their schedules, client

                                      3 availability and the general press of business; as a result, JoshCo Tech agreed to provide

                                      4 Defendants a 30-day extension for JoshCo Tech’s previously served written discovery responses,

                                      5 and the parties agreed to provide reciprocal extensions on the briefing schedule for the Motion to

                                      6 Stay;

                                      7          4.     Accordingly, the parties hereby agree and stipulate that JoshCo Tech shall have up

                                      8 to and through Wednesday, August 5, 2020, to file and serve their opposition to the Motion to

                                      9 Stay and Defendants shall have up to and through September 2, 2020 to file and serve their reply
                                     10 to the Motion to Stay.

                                     11         IT IS SO AGREED AND STIPULATED.
3993 Howard Hughes Pkwy, Suite 600




                                     12          DATED this 15th day of July, 2020.

                                     13 THE LAW OFFICE OF                                 LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                        RICHARD R. RICE
Las Vegas, NV 89169-5996




                                     14
                                                                                          By: /s/ Meng Zhong
                                     15 By: /s/ Richard R. Rice
                                                                                          Meng Zhong
                                        Richard R. Rice                                   Brian D. Blakley
                                     16 1084 North El Camino Read, Suite B121
                                        Encinitas, CA 92024-1334                          3993 Howard Hughes Pkwy, Suite 600
                                     17 Tel: 760-943-0100                                 Las Vegas, NV 89169-5996
                                        E-mail: rrrice@rrrlaw.net                         Tel: 702.949.8200
                                     18                                                   E-mail: mzhong@LRRC.com
                                        Kelly H. Dove                                     E-mail: bblakley@LRRC.com
                                     19 SNELL & WILMER LLP
                                        3883 Howard Hughes Pkwy, Suite 1100               Jeffrey A. Feasby (pro hac vice)
                                     20 Las Vegas, Nevada 89169                           PEREZ VAUGHN & FEASBY, INC.
                                        Tel: 702.784.5286                                 600 B Street, Suite 2100
                                     21 E-mail: kdove@swlaw.com                           San Diego, CA 92101
                                     22 Attorneys for Defendants,                         Tel: 619.741.0242
                                                                                          E-mail: feasby@pvflaw.com
                                        Max VA Benefits Consulting Services, Inc.;
                                     23 and Jose Briceno
                                                                                          Attorneys for Plaintiff
                                     24                                                   JoshCo Tech, LLC

                                     25                                               IT IS SO ORDERED:

                                     26                                               _______________________________________
                                                                                      UNITED STATES MAGISTRATE JUDGE
                                     27

                                     28                                               DATED: July 15, 2020

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